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                                                                                     FILED BY.:      ~lh              D.C.
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                                                                            NOV 1 5 2023
                                                                                             ANGELA E. NOBLE
                                      Case No.: 23-CV61326-RS                               CLERK U.S. DIST. CT.
                                                                                          S. D. OF FLA. - FT. LAUD.



    US BANK TRUST N_A.                              )
         Plaintiff,                                 )               NOTICE OF REMOVAL
                                                    )               (Diversity-28 US.C. 1332)
    Vs.                                             )
                                                    )
    JANICE ELLERY, et. al                           )
         Defendant.                                 )

                               AMENDED NOTICE OF REMOVAL

          1. This matter was commenced on Defendant's Objection to a judicial sale filed in the

              17th Judicial Circuit in and for Broward County, Florida (the "state court"), under

             case number CACE 19-011770. A copy of the state court Objection to Sale is

             attached to the original Notice of Removal as Exhibit A.

          2. This is a civil matter of which this Court has original jurisdiction under 28 U.S.C.

             §1332-Diversity Jurisdiction; and is a case that may be removed to this Court by

             defendant pursuant to the provisions of 28 U.S.C. §144l(b), in that it is a civil

             proceeding between citizens of different states.

          3. Defendant is informed and believes that plaintiff, US Bank Trust N.A. (hereinafter,

             "US BANK"), was, at the time it filed the state court motion, and still is, a

             corporation, incorporated in the State of Minnesota and/or maintains its principal

             place of business in Saint Paul Minnesota. Additionally, none of the named

             Defendants, including myself, Janice Ellery, was not, at the time I, the Defendant

             filed the state court Objection to Sale, and still are not, citizens of Minnesota.




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       4. Here, it is alleged that Plaintiff, US BANK acted without authority and/or without

           court permission when it filed its April 14, 2023 Motion for Writ of Possession and

           it's May 22, 2023 Notice of Hearing in the Florida State Court. Certainly, Plaintiff

           knows that the state court cannot grant such a motion, prior to Plaintiff complying

           with federal mortgage servicing laws.

    Introduction

       5. On July 13, 2023, I, a prose litigant, removed the underlying state court case to this

           federal court because of, among other grounds, the parties' US Bank Trust N.A.

           (hereinafter "U.S. BANK") - a citizen of Minnesota; and myself, Janice Ellery

           (Defendant)- a citizen of Florida diverse citizenship. As such, this action is one in

           which this United States District Court, for the Southern District of Florida has

           subject matter jurisdiction. [DE l]. However, Plaintiff has made a conscientious

           choice not to respond to my July 13, 2023 Removal petition.

       6. On July 19, 2023, the Court entered an order remanding this case back to the state

           court [DE 5].

       7. On August 15, 2023, I filed a motion asking the Court to reconsider its July 19,

           2023 remand order [DE 7]. Once again, Plaintiff choose to waive any objections to

           these removal proceedings by failing to respond to my August 15, 2023 motion for

           reconsideration.

       8. Nevertheless, on September 7, 2023, the Court entered an order granting my August

           15, 2023 motion for reconsideration [DE 8]. Yet once again, Plaintiff did nothing

           in response to the Court's September 7, 2023 order, and thus has voluntarily waived

          any objections to these removal proceedings.




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       9. Instead of at least appearing in this court, Plaintiff, on August 29, 2023 has choose

          to go back to the state court to improperly schedule a November 16, 2023 state

          court hearing, that Plaintiff knows, or should know - would potentially lead to void

          state court order. A copy of Plaintiffs August 29, 2023 state court filing is attached

          hereto as Exhibit A.

                                            Argument

    US Bank's Failure to Comply with 12 C.F.R. 1006.18(b)(2)

       10. 12 C.F.R. § 1006.18(b)(2) - False, Deceptive, or Misleading Representations

          provides that: * (b)(2) A debt collector must not falsely represent: (i) The character,

          amount, or legal status of any debt; and (ii) Any services rendered, or compensation

          that may be lawfully received, by any debt collector for the collection of a debt.

       11. On December 16, 2021, a final judgment of foreclosure was entered in favor of

          Plaintiff in the total amount of $375,078.95. Paragraph eight (8) of the December

          16, 2021, final judgment provides in relevant part as follows:

                  .... 8. "On filing the Certificate of Title, the Clerk shall distribute the
                  proceeds of the sale to Plaintiff c/o Diaz Anselmo & Associates, P.A., PO
                  Box 19519, Fort Lauderdale, FL 33318, so far as they are sufficient, by
                  paying: (a) All of Plaintiffs cost; (b) Plaintiffs attorneys' fees; and (c) The
                  total sum due to Plaintiff as set forth above, less the items paid, with interest
                  at the current statutory interest rate from the date through which interest is
                  calculated in paragraph 1 above to the date of the sale. If, subsequent to the
                  date of the Plaintiffs Affidavit of Indebtedness and prior to the sale
                  contemplated in paragraph 5 hereof, the Plaintiff has to advance money to
                  protect its mortgage lien, including but not limited to post judgment
                  advances for property taxes and insurance, property preservation costs,
                  posts judgment attorney's fees and costs and post judgment bankruptcy
                  attorney fees and costs, the Plaintiff or its Attorneys shall certify by affidavit
                  to the Clerk and the amount due to Plaintiff shall be increased by the amount
                  of such advances without further order of the Court.




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       12. Therefore, according to paragraph eight (8) of the final judgment, Plaintiff's ability

           to advance post-judgment fees and cost, are not triggered until if, and when a

           "Certificate of Title" is filed in the state court case. In fact, paragraph 8(c) of the

           final judgment specifically states that:

                           "if prior to the sale .....the Plaintiff has to "advance money" such as
                           post judgment advances for property taxes and insurance to protect
                           its mortgage ... the Plaintiff or its Attorneys shall certify by affidavit
                           to the Clerk and the amount and the amount due to Plaintiff shall be
                           increased by the amount of such advances ... " (Emphasis added).

       13. However, as of the date of this Complaint, NO sale has occurred, and NO

           Certificate of Title had been filed by the Clerk. Additionally, Plaintiff (through its

           agent attorney), has not "certified" the amount due by sworn statement to the Clerk

          Therefore, on September 22, 2022, Plaintiff's demands for said "advance money",

           was clearly premature. [DE 1, Exhibit "A".

       14. On September 22, 2022, Plaintiff's agent sent Defendant a letter showing the total

          amount I needed to pay, in order to pay off the balance of the subject mortgage

          loan. Plaintiffs September 22, 2022, collection letter is misleadingly false, as it is

          based totally on a "Total Unpaid Principal Balance" amount of $195,658.98 and

          not on the December 16, 2021 final judgment amount of $375,078.95 - that fact

          alone, renders the September 22, 2022 payoff demand inaccurately misleading and

          false. [DE 1, Exhibit "B"].

       15. Nevertheless, it is clear on the face of its September 22, 2022, collection letter, that

          Plaintiff, through its agent, is demanding "additional expenses" other than the

          $51,742.56 interest charges that is authorized by the December 16, 2021 final

          judgment. Certainly, such a demand on the part of Plaintiff is falsely representing




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          the true character and amount of the alleged debt, and therefore, does not comply

          with 12 C.F.R. § 1006.18(b)(2).

       16. As of the date of September 22, 2021, demand letter, NO foreclosure sale of the

          subject property located at 214 SW 2nd Place, Dania, Florida 33004 had occurred.

          Therefore, Plaintiff's September 22, 2022, letter is clearly an unfair attempt to

          collect additional expenses that (according to the final judgment), it is not yet

          entitled to collect. Thus, Plaintiffs September 22, 2022 demand/collection letter is

          in violation of this Bureau's Rules under 12 C.F.R. § 1006.18(b)(2).

       17. Based on paragraph eight (8) of the December 16, 2021 final judgment, Plaintiff,

          through its agent, is falsely representing the true character of the $393,856.57 total

          payoff amount, because said payoff amount prematurely includes post judgment

          expenses - other than post judgment interest. As a result, my ability to determine

          the validity of the total amount allegedly owed has been impaired by the Plaintiff.

          The September 22, 2022 letter is indeed false and misleading under 12 C.F.R. §

          1006.18(b)(2) and is an unfair attempt to collect unauthorized fees and expenses.

       18. The above violations on the part of Plaintiff, have prevented, hindered, and/or

          delayed me, or someone on my behalf, from confidently making a final payment

          that would pay off the correct balance of the subject mortgage loan. Moreover,

          Plaintiff's misleading and unfair pre-mature demands for post judgment fees and

          cost, is preventing us from selling the subject property, and extinguishing the

          alleged debt - and to do before the, property is lost in a foreclosure sale.


 ~ Janice
   AC        ))&JJ~
          Ellery
   214 SW 2nd Place
   Dania, Florida 33004



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